                  Case 24-12752-MFW               Doc 25       Filed 12/11/24         Page 1 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                         Chapter 11

Yield10 Bioscience, Inc., et al.,                              Case No. 24-12752 (MFW)

         Debtors. 1                                            (Jointly Administered)

                                                               Re: D.I. 4, 5, 23 & 24



               JOINT NOTICE OF FINAL HEARING ON FIRST DAY MOTIONS

       PLEASE TAKE NOTICE that on December 6, 2024, the above-captioned debtors and
debtors in possession (the “Debtors”), filed the following first-day motions with the United States
Bankruptcy Court for the District of Delaware (the “Court”):

               a. Motion for Interim and Final Orders Pursuant to Sections 105(a), 363(B), 363(C),
                  507(a), 541(B)(7), 541(D), 1107(a) and 1108 of the Bankruptcy Code and Fed. R.
                  Bankr. P. 6003 and 6004 (I) Authorizing Debtors to (a) Pay Certain Prepetition
                  Wages, Compensation, and Employee Benefits, (B) Continue Payment of Wages,
                  Compensation, and Employee Benefits in the Ordinary Course of Business and (C)
                  Continue Payment of Employment, Unemployment, Social Security and Other
                  Taxes Incident to the Employee Obligations; And (II) Authorizing and Directing
                  Debtors' Third-party Payroll Administrator and Debtors' Bank to Receive, Process,
                  Honor, and Pay Checks Issued and Electronic Payment Requests Relating to The
                  Foregoing [D.I. 4] (the “Employee Motion”); and

               b. Motion of the Debtors for Interim and Final Orders Pursuant to 11 U.S.C. §§
                  105(a), 345(b), 363, 1107 and 1108 Authorizing: (a) Continued Maintenance of
                  Existing Bank Accounts, (B) Continued Use of Existing Business Forms and (C)
                  Waiver of Section 345(b) Deposit and Investment Requirements and Certain United
                  States Trustee Guidelines [D.I. 5] (the “Cash Management Motion,” together with
                  the Employee Motion, the “Motions”);

       PLEASE TAKE FURTHER NOTICE that on December 10, 2024, the Court entered the
following interim orders (the “Interim Order(s)”) granting the reliefs sought in the Motions on an
interim basis.

         •     Order (INTERIM) Pursuant to Sections 105(a), 363(b), 363(c), 507(a), 541(b)(7),
               541(d), 1107(a) and 1108 of the Bankruptcy Code and Fed. R. Bankr. P. 6003 and 6004


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  The last four digits of the taxpayer identification numbers of the Debtors follow in parentheses: (i) Yield10 (x
8289); (ii) Securities Corp. (x7435) and (ii) Oilseeds (Canadian Business No.x9469).


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                  Case 24-12752-MFW        Doc 25     Filed 12/11/24    Page 2 of 3




               (I) Authorizing Debtors to (A) Pay Certain Prepetition Wages, Compensation, and
               Employee Benefits, (B) Continue Payment of Wages, Compensation, and Employee
               Benefits in the Ordinary Course of Business and (C) Continue Payment of Employment,
               Unemployment, Social Security and Other Taxes Incident to the Employee Obligations;
               and (II) Authorizing and Directing Debtors' Third-Party Payroll Administrator and
               Debtors' Bank to Receive, Process, Honor, and Pay Checks Issued and Electronic
               Payment Requests Relating to the Foregoing [D.I. 23]; and

         •     Order (INTERIM) Pursuant to 11 U.S.C. §§ 105(a), 345(b), 363, 1107 and 1108
               Authorizing; (A) Continued Maintenance of Existing Bank Accounts, (B) Continued
               Use of Existing Business Forms and (C) Waiver of Section 345(b) Deposit and
               Investment Requirements and Certain United States Trustee Guidelines [D.I. 24].

      PLEASE TAKE FURTHER NOTICE that copies of the documents referenced above
may be obtained from the Court’s website at www.deb.uscourts.gov for a fee.

        PLEASE TAKE FURTHER NOTICE that responses or objections, if any, to the relief
requested in the Motions must be filed with the United States Bankruptcy Court for the District of
Delaware, 824 N. Market Street, 3rd Floor, Wilmington, Delaware 19801, on or before January
3, 2025 at 12:00 p.m. (ET) (the “Objection Deadline”). At the same time, you must also serve a
copy of the objection upon the following parties to be actually received no later than the Objection
Deadline: (a) proposed counsel to the Debtors: The Rosner Law Group LLC, 824 N. Market Street,
Suite 810, Wilmington, DE 19801 (Attn: Frederick B. Rosner, Esq. and Zhao (Ruby) Liu, Esq.,
rosner@teamrosner.com; liu@teamrosner.com;); (b) Office of the United States Trustee, 844 King
Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801 (Attn: Richard L. Schepacarter,
Esq., richard.schepacarter@usdoj.gov); (c) counsel to statutorily appointed committee (if any);
and (d) to the extent not listed herein, those parties requesting notice pursuant to Bankruptcy Rule
2002.

       PLEASE TAKE FURTHER NOTICE that a final hearing on the Motions, if required,
will be held on January 8, 2025 at 12:00 p.m. (ET) before The Honorable Mary F. Walrath,
United States Bankruptcy Court for the District of Delaware, 824 N. Market Street, 5th Floor,
Courtroom No. 4, Wilmington, Delaware 19801.

     PLEASE TAKE FURTHER NOTICE THAT, IF NO OBJECTIONS TO THE
MOTIONS ARE TIMELY FILED, SERVED AND RECEIVED IN ACCORDANCE WITH
THIS NOTICE, THE BANKRUPTCY COURT MAY GRANT THE FINAL RELIEF
REQUESTED IN THE COC WITHOUT FURTHER NOTICE OR HEARING.




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               Case 24-12752-MFW   Doc 25    Filed 12/11/24    Page 3 of 3




 Dated: December 11, 2024                   THE ROSNER LAW GROUP LLC
        Wilmington, Delaware
                                            By: /s/ Zhao Liu
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                                            Proposed Attorneys for Debtor and Debtor in
                                            Possession




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